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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 11

    CASA SYSTEMS, INC.,                                              Case No. 24-10695 (KBO)

                             Debtor. 1

    Tax I.D. No.: XX-XXXXXXX


    In re:
                                                                     Chapter 11
    CASA SYSTEMS SECURITIES CORPORATION,
                                                                     Case No. 24-10696 (KBO)
                             Debtor.

    Tax I.D. No.: XX-XXXXXXX


    In re:
                                                                     Chapter 11
    CASA PROPERTIES LLC,
                                                                     Case No. 24-10697 (KBO)
                             Debtor.

    Tax I.D. No.: XX-XXXXXXX


                      DEBTORS’ MOTION FOR ENTRY OF AN ORDER
                      (I) AUTHORIZING JOINT ADMINISTRATION OF
                  CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this motion (the “Motion”): 2


1
    The Debtors’ service address is 100 Old River Road, Andover, MA 01810.
2
 A detailed description of the Debtors and their businesses, and the facts and circumstances supporting this Motion
and the Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Edward Durkin in Support of
Chapter 11 Petitions and First Day Pleadings and the Declaration of Brian Whittman in Support of the Debtors’
Motions to Use Cash Collateral, Approve Bidding Procedures, and Approve the Cloud/RAN Sale, and Other First
Day Pleadings, as applicable (collectively, the “First Day Declarations”), filed contemporaneously herewith.
Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the First Day
Declarations, as applicable.
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                                      RELIEF REQUESTED

        1.      The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Proposed Order”) granting, among other things, the following relief:

             a. authorizing joint administration of the chapter 11 cases for procedural purposes
                only; and

             b. granting related relief.

                                  JURISDICTION AND VENUE

        2.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2),

and the Debtors confirm their consent, pursuant to rule 7008 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and rule 9013-1(f) of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), to the entry of a final order or judgment by the Court in connection with this Motion to

the extent that it is later determined that the Court, absent consent of the parties, cannot enter final

orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

        3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.      The statutory and legal bases for the relief requested in this Motion are Bankruptcy

Rule 1015 and Local Rule 1015-1.

                              BACKGROUND OF THE DEBTORS

        5.      The Debtors operate a global communications technology business that offers

end-to-end physical, virtual, and cloud-native 5G infrastructure and customer premise networking



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equipment solutions. These solutions, in turn, enable the Debtors’ customers to transform and

expand their public and private high-speed data and multi-service communications networks. The

Debtors’ solutions are commercially deployed in over 70 countries by more than 475 customers,

including regional as well as some of the world’s largest Tier 1 communications service providers,

serving millions of subscribers globally.

        6.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under sections 101–1532 of title 11 of the United States Code (the “Bankruptcy

Code”) in the Court. The Debtors continue to operate their businesses and manage their properties

as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No party

has requested the appointment of a trustee or examiner in these cases, and no statutory committee

has been appointed.

        7.      Additional information regarding the Debtors’ businesses, capital structures and

circumstances preceding the Petition Date may be found in the First Day Declarations.

                               BASIS FOR RELIEF REQUESTED

        8.      Bankruptcy Rule 1015(b) provides that “[i]f . . . two or more petitions are pending

in the same court by or against . . . a debtor and an affiliate, the court may order joint administration

of the estates” of the debtor and such affiliates. Fed. R. Bankr. P. 1015(b). Section 101(2) of the

Bankruptcy Code defines the term “affiliate,” in pertinent part, as:

                (A)     [an] entity that directly or indirectly owns, controls, or holds
                with power to vote, 20 percent or more of the outstanding voting
                securities of the debtor . . . ;

                (B)     [a] corporation 20 percent or more of whose outstanding
                voting securities are directly or indirectly owned, controlled, or held
                with power to vote, by the debtor, or by an entity that directly or
                indirectly owns, controls, or holds with power to vote, 20 percent or
                more of the outstanding voting securities of the debtor . . . .

11 U.S.C. § 101(2).


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       9.      The Debtors are all “affiliates” as such term is defined in section 101(2) of the

Bankruptcy Code and as used in Bankruptcy Rule 1015(b). Accordingly, the Court is authorized

to grant the relief requested herein.

       10.     Further, Local Rule 1015-1 provides that:

               [a]n order of joint administration may be entered, without notice and
               an opportunity for hearing, upon the filing of a motion for joint
               administration pursuant to Fed. R. Bankr. P. 1015, supported by an
               affidavit, declaration or verification, which establishes that the joint
               administration of two or more cases pending in this Court under
               title 11 is warranted and will ease the administrative burden for the
               Court and the parties . . . .

Del. Bankr. L.R. 1015-1.

       11.     Joint administration of the chapter 11 cases will save the Debtors and their estates

substantial time and expense because it will remove the need to prepare, replicate, file, and serve

duplicative notices, applications, and orders. Further, joint administration will relieve the Court

of the burden of entering duplicative orders and maintaining duplicative files and dockets. The

Office of the United States Trustee for the District of Delaware (the “U.S. Trustee”) and other

parties in interest will similarly benefit from joint administration of these chapter 11 cases, as it

will spare them the time and effort of reviewing duplicative pleadings and papers.

       12.     Joint administration will not adversely affect creditors’ rights because this Motion

requests only the administrative consolidation, and not the substantive consolidation, of the

Debtors’ estates. As such, each creditor will continue to hold its claim against a particular Debtor’s

estate after the relief requested in this Motion is granted. Accordingly, the Debtors respectfully




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request that the Court modify the captions of the chapter 11 cases to reflect joint administration as

follows:


    In re:                                                       Chapter 11

    CASA SYSTEMS, INC., et al.,1                                 Case No. 24-10695 (KBO)

                            Debtors.                             (Jointly Administered)


1
  The Debtors in these chapter 11 cases, together with the last four digits of the Debtors’ federal tax identification
number, are Casa Systems, Inc. (8867), Casa Systems Securities Corporation (1151), and Casa Properties LLC
(6767). The Debtors’ service address is 100 Old River Road, Andover, MA 01810.

             13.   As reflected in the above caption, footnote 1 will set forth a complete listing of the

Debtors’ names, as well as the last four digits of each Debtor’s federal tax identification number

and the Debtors’ mailing address.

             14.   In addition, the Debtors request that the Court make a separate docket entry on the

docket of each of the Debtors’ cases (except that of Debtor Casa Systems, Inc.), substantially as

follows:

                   An order has been entered in this case consolidating this case with
                   the case of Casa Systems, Inc., Case No. 24-10695 (KBO), for
                   procedural purposes only and providing for its joint
                   administration in accordance with the terms thereof. The docket in
                   Case No. 24-10695 (KBO) should be consulted for all matters
                   affecting this case.

             15.   In view of the fact that joint administration is a procedural matter only, the Debtors

propose that a separate claims register for each Debtor will be maintained by Epiq Corporate

Restructuring, LLC, the Debtors’ proposed claims and noticing agent, and respectfully request that

the Court direct that any creditor filing a proof of claim against any of the Debtors, or their

respective estates clearly assert its claim against the particular Debtor obligated on such claim, and

not against the jointly administered Debtors.



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      16.      An order of joint administration relates to the routine administration of a case

and may be entered by the Court in its sole discretion on an ex parte basis. See Del. Bankr.

L.R. 1015-1. No party will be prejudiced by virtue of the relief requested in this Motion.

Specifically, the relief sought herein is solely procedural and is not intended to affect substantive

rights. For these reasons, the Debtors submit that the relief requested herein is in the best interests

of the Debtors, their estates, creditors, and other parties in interest and, therefore, should be

granted.


                                              NOTICE

       17.     Notice of this Motion has been provided by email, facsimile, or overnight courier

to: (a) the Office of the United States Trustee for the District of Delaware; (b) the holders of the

thirty (30) largest unsecured claims against the Debtors; (c) JPMorgan Chase Bank, N.A., or its

successor as administrative agent under the Superpriority Credit Agreement; (d) Delaware Trust

Company; (e) counsel to the Ad Hoc Group; (f) the United States Attorney’s Office for the District

of Delaware; (g) the Internal Revenue Service; (h) the Securities and Exchange Commission;

(i) the Federal Communications Commission; and (j) any party that has requested notice pursuant

to Bankruptcy Rule 2002. As this Motion is seeking “first day” relief, within two business days

of the hearing on this Motion, the Debtors will serve copies of this Motion and any order entered

in respect to this Motion as required by Local Rule 9013-1(m). The Debtors submit that, in light

of the nature of the relief requested, no other or further notice need be given.




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       WHEREFORE, the Debtors respectfully request entry of the Proposed Order in the form

attached hereto as Exhibit A, granting the relief requested herein and granting such other relief as

is just and proper.

 Dated: April 3, 2024
 Wilmington, Delaware

 /s/ Joseph M. Mulvihill
 YOUNG CONAWAY STARGATT &                             SIDLEY AUSTIN LLP
 TAYLOR, LLP                                          Stephen E. Hessler (pro hac vice pending)
 Joseph Barry (Del. Bar No. 4221)                     Patrick Venter (pro hac vice pending)
 Joseph M. Mulvihill (Del. Bar No. 6061)              Margaret R. Alden (pro hac vice pending)
 Timothy R. Powell (Del. Bar No. 6894)                787 Seventh Avenue
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 Wilmington, Delaware 19801                           Facsimile: (212) 839-5599
 Telephone: (302) 571-6600                            Email: shessler@sidley.com
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                                                      Chicago, Illinois 60603
 Proposed Co-Counsel to the Debtors and               Telephone: (312) 853-7000
 Debtors in Possession                                Facsimile: (312) 853-7036
                                                      Email: ryan.fink@sidley.com

                                                      Julia Philips Roth (pro hac vice pending)
                                                      1999 Avenue of the Stars
                                                      Los Angeles, California 90067
                                                      Telephone: (310) 595-9500
                                                      Facsimile: (310) 595-9501
                                                      Email: julia.roth@sidley.com


                                                      Proposed Co-Counsel to the Debtors and
                                                      Debtors in Possession




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                      Exhibit A

                    Proposed Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                             Chapter 11

    CASA SYSTEMS, INC.,                                                Case No. 24-10695 (KBO)

                              Debtor. 1

    Tax I.D. No.: XX-XXXXXXX


    In re:
                                                                       Chapter 11
    CASA SYSTEMS SECURITIES CORPORATION,
                                                                       Case No. 24-10696 (KBO)
                              Debtor.

    Tax I.D. No.: XX-XXXXXXX


    In re:
                                                                       Chapter 11
    CASA PROPERTIES LLC,
                                                                       Case No. 24-10697 (KBO)
                              Debtor.

    Tax I.D. No.: XX-XXXXXXX



                    ORDER (I) AUTHORIZING JOINT ADMINISTRATION
                OF CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

             Upon the motion (“Motion”) 2 of Casa Systems, Inc., and its debtor affiliates, as debtors

and debtors in possession (collectively, the “Debtors”), for entry of an order, pursuant to

Bankruptcy Rule 1015 and Local Rule 1015-1, (a) authorizing joint administration of these chapter

11 cases and (b) granting related relief, all as more fully set forth in the Motion; and this Court



1
    The Debtors’ service address is 100 Old River Road, Andover, MA 01810.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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having reviewed the Motion and the First Day Declarations; and this Court having jurisdiction to

consider the Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated February 29, 2012; and this matter being a core proceeding within the meaning

of 28 U.S.C. § 157(b)(2); and this Court being able to issue a final order consistent with Article III

of the United States Constitution; and venue of this proceeding and the Motion in this district being

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate notice of and opportunity for

hearing on the Motion having been given; and the relief requested in the Motion being in the best

interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       1.         The relief requested in the Motion is GRANTED as set forth herein.

       2.         The above-captioned cases are consolidated for procedural purposes only and shall

be administered jointly under Case No. 24-10695 (KBO) in accordance with the provisions of

Bankruptcy Rule 1015 and Local Rule 1015-1.

       3.         (i) The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the District of Delaware shall keep, one consolidated docket, one file, and one consolidated

service list for these jointly administered cases and (ii) a separate claims register for each Debtor

shall be maintained by Epiq Corporate Restructuring, LLC, the Debtors’ proposed claims and

noticing agent.

       4.         The caption of pleadings and other document filed in the jointly administered cases

shall read as follows:




                                                   2
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    In re:                                                      Chapter 11

    CASA SYSTEMS, INC., et al., 1                               Case No. 24-10695 (KBO)

                            Debtors.                            (Jointly Administered)

1
  The Debtors in these chapter 11 cases, together with the last four digits of the Debtors’ federal tax identification
number, are Casa Systems, Inc. (8867), Casa Systems Securities Corporation (1151), and Casa Properties LLC
(6767). The Debtors’ service address is 100 Old River Road, Andover, MA 01810.

             5.    As reflected in the above caption, footnote 1 shall set forth a complete listing of the

Debtors’ names, as well as the last four digits of each Debtor’s federal tax identification number

and the Debtors’ mailing address.

             6.    The caption set forth above shall be deemed to satisfy any applicable requirements

of section 342(c) of the Bankruptcy Code and Bankruptcy Rule 2002(n).

             7.    All pleadings and other documents to be filed in the jointly administered cases shall

be filed and docketed in the case of Casa Systems, Inc., 24-10695 (KBO).

             8.    A docket entry shall be made in the chapter 11 cases of each of the Debtors, other

than Debtor Casa Systems, Inc., substantially as follows:

                   An order has been entered in this case consolidating this case with
                   the case of Casa Systems, Inc., Case No. 24-10695 (KBO), for
                   procedural purposes only and providing for its joint
                   administration in accordance with the terms thereof. The docket in
                   Case No. 24-10695 (KBO) should be consulted for all matters
                   affecting this case.

             9.    Nothing in the Motion or this Order shall be deemed or construed as directing or

otherwise effecting the substantive consolidation of these chapter 11 cases.

             10.   This Order shall take effect immediately upon entry.

             11.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this order in accordance with the Motion.



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       12.    This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation and enforcement of this Order.




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